Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 1 of 12




              EXHIBIT 1
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 2 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 3 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 4 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 5 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 6 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 7 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 8 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 9 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 10 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 11 of 12
Case 1:19-cv-00393 Document 1-1 Filed 04/15/19 Page 12 of 12
